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STATE OF MAINE SUPERIOR COURT
PENOBSCOT, SS. CIVIL ACTION
DOCKET NO:

CHARLES ARRIGONI, as next friend
and personal representative of the
Estate of CAMERON ARRIGONI,

an Estate in the County of Penobscot,
State of Maine,

Plaintiff
v.

CHRISTIAN BAILEY, an individual
employed by the Town of Hampden,
County of Penobscot, State of Maine,

&

TOWN OF HAMPDEN, a municipality
located in the County of Penobscot,
State of Maine,

CHIEF JOSEPH ROGERS, in his
capacity as Chief of Police for the
Town of Hampden, County of
Penobscot, State of Maine,

Senet Sea Serer! me” Sure! Seem! Se! Seat! Saat! Seapets nae! “taut” Samet! ap” Santee! Somme! Snamet! Semwe! Napa Nese Nee! Naa! Nee ee! Nae!

Defendants
COMPLAINT
NOW COMES the Plaintiff, by and through his attorney and complains against the
Defendants as follows:
PARTIES
1. At all times relevant to this Complaint, Cameron Arrigoni, was an individual

residing in the Town of Hampden, County of Penobscot, State of Maine at the

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time of his death.

2. Plaintiff Charles Arrigoni, acting as the personal representative of the Estate of
Cameron Arrigoni, is an individual residing in the Town of Winterport, County of
Penobscot, State of Maine.

3. At all times relevant to this Complaint, Defendant Christian Bailey was employed
by and acting in his official capacity as a police officer for the Town of Hampden,
County of Penobscot, State of Maine.

4, At all times relevant to this Complaint, Defendant Town of Hampden was a
municipality located in the County of Penobscot, State of Maine.

5. At all times relevant to this Complaint Defendant Joseph Rogers was employed
by and acting in his official capacity as the Chief of the Hampden Police
Department located in the County of Penobscot, State of Maine.

FACTUAL ALLEGATIONS

6. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 5 as if fully
restated herein.

7. On or about June 9, 2013, officers were called to a residence in Hampden, Maine
for an alleged domestic in progress.

8. Officer Bailey was one of two first responding officers at the scene.

9. Despite orders to remain outside and wait for further assistance from the Rapid
Response Team, Officer Bailey disobeyed those orders and entered the residence.

10. Immediately upon confronting Mr. Arrigoni in the residence and without any

attempts to use lesser force, Officer Bailey shot Mr. Arrigoni in the chest and

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head with his Glock .45 caliber handgun.

Mr. Arrigoni died as the direct result of the injuries he sustained from being shot
in the chest and head.

Prior to June 9, 2013, Officer Bailey had no experience or training in hostage
rescue or negotiation with homicidal/suicidal mentally il] individuals and no
proper training with regard to the deadly use of force in circumstances as those
that arose in the June 9" incident.

Upon information and belief that the Town of Hampden and its Police
Department failed to provide adequate training to Officer Bailey with regard to
such situations or to implement adequate policies with regard to the same.
Upon information and belief that prior to June 9, 2013, the Town of Hampden
possessed no policy regarding the training of its officers in dealing with crisis
situations involving a homicidal or suicidal individual, or with regard to hostage
negotiation, hostage rescue or negotiation and dealing with an individual with
serious mental health issues in such situations.

COUNT I - SECTION 1983
CHRISTIAN BAILEY

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 14 as if
fully restated herein.

Pursuant to the Eighth Amendment, Defendant Bailey, individually, owed
Cameron Arrigoni a duty to not deprive him of his rights, privileges or immunities

secured by the Constitution and laws of the United States.

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Defendant had a duty to take reasonable measures to avoid denying Cameron
Arrigoni the same, by following orders and complying with orders and his
employer’s policies and procedures for use of deadly force.
Defendant, acting under color of a statute, ordinance, regulation, custom, or
usage, of the State of Maine, subjected, or caused to be subjected, Cameron
Arrigoni, a citizen of the United States, to a deprivation of his rights, privileges,
or immunities secured by the Constitution and laws of the United States.
As a result of Defendant’s actions and/or inactions, Defendant is liable to Plaintiff
in an action at law.
Defendant knew of and intentionally and/or recklessly disregarded a known risk
to Cameron Arrigoni’s health and safety.
Defendant acted with deliberate indifference to Cameron Arrigoni’s health and
safety, causing him injury, specifically death.
COUNT II —- MAINE CIVIL RIGHTS ACT
5 M.LR.S.A. §4682
CHRISTIAN BAILEY
Plaintiff repeats and realleges the allegations of Paragraphs 1 through 21 as if
fully restated herein.
Defendant intentionally interfered or attempted to interfere with the exercise or
enjoyment by Cameron Arrigoni of rights secured by the United States and Maine
Constitutions.

Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.

Defendant’s actions directly and proximately caused Cameron Arrigoni serious

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physical and emotional harm, specifically death.

COUNT UI —- WRONGFUL DEATH
CHRISTIAN BAILEY

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 25 as if
fully restated herein.

Defendant wrongfully and/or negligently caused the death of Cameron Arrigoni.
Defendant’s actions have directly and proximately caused Mr. Arrigoni’s heirs
and estate to suffer pecuniary loss.

Defendant’s actions have also directly and proximately caused Mr. Arrigoni’s
heirs and estate to suffer the loss of comfort, care and companionship of Mr.
Arrigoni, as well as significant emotional distress.

Plaintiff has also suffered medical, hospital and funeral expenses as the direct and

proximate result of Defendant’s wrongful actions.

COUNT IV —- CONSCIOUS PAIN AND SUFFERING
CHRISTIAN BAILEY

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 30 as if
fully restated herein.

Defendant’s wrongful and/or negligent actions caused Cameron Arrigoni
conscious pain and suffering prior to his death.

COUNT V — SECTION 1983
TOWN OF HAMPDEN

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 32 as if

fully restated herein.

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Upon information and belief that Defendant failed to implement a training

program for its officers or implemented a program that was grossly inadequate to

prevent the type of harm suffered by Cameron Arrigoni.

Defendant’s gross negligence and deliberate indifference to the rights of Mr.

Arrigoni and the public at large directly and proximately caused Defendant

Christian Bailey to deny Cameron Arrigoni his civil rights, whereby causing

injury to Plaintiff.

Defendant is liable to Plaintiff for its gross negligence and deliberate indifference

to the rights of Cameron Arrigoni and for the losses sustained by his heirs.
COUNT VI —- MAINE CIVIL RIGHTS ACT

5 MLRS.A. §4682
TOWN OF HAMPDEN

. Plaintiff repeats and realleges the allegations of Paragraphs 1 through 36 as if

fully restated herein.

By deliberately failing to adequately train its officers or to implement adequate
policies and procedures, Defendant intentionally interfered or attempted to
interfere with the exercise or enjoyment by Cameron Arrigoni of rights secured by
the United States and Maine Constitutions.

Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.
Defendant’s actions caused Cameron Arrigoni serious physical and emotional
harm, specifically death.

COUNT VII - WRONGFUL DEATH
TOWN OF HAMPDEN

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Plaintiff repeats and realleges the allegations of Paragraphs 1 through 40 as if
fully restated herein.

Defendant’s deliberate indifference and wrongful conduct directly and
proximately caused the death of Cameron Arrigoni.

Defendant’s actions have directly and proximately caused Mr. Arrigoni’s heirs
and estate to suffer pecuniary loss.

Defendant’s actions have also directly and proximately caused Mr. Arrigoni’s
heirs and estate to suffer the loss of comfort, care and companionship of Mr.
Arrigoni, as well as significant emotional distress.

Plaintiff has also suffered medical, hospital and funeral expenses as the direct and

proximate result of Defendant’s wrongful actions.

COUNT VII — CONSCIOUS PAIN AND SUFFERING
TOWN OF HAMPDEN

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 45 as if
fully restated herein.

Defendant’s deliberate indifference and wrongful actions caused Cameron
Arrigoni conscious pain and suffering prior to his death.

COUNT IX — SECTION 1983
JOSEPH ROGERS

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 47 as if

fully restated herein.
Upon information and belief that Defendant failed to implement a training

program for his officers or implemented a program that was grossly inadequate to

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prevent the type of harm suffered by Cameron Arrigoni.
Detendant’s gross negligence and deliberate indifference to the rights of Mr.
Arrigoni and the public at large directly and proximately caused Defendant
Christian Bailey to deny Cameron Arrigoni his civil rights, whereby causing
injury to Plaintiff.
Defendant is liable to Plaintiff for his gross negligence and deliberate indifference
to the rights of Cameron Arrigoni.
COUNT X — MAINE CIVIL RIGHTS ACT
5 M.R.S.A. §4682
JOSEPH ROGERS

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 51 as if
fully restated herein.
By deliberately failing to adequately train his officers or to implement adequate
policies and procedures, Defendant intentionally interfered or attempted to
interfere with the exercise or enjoyment by Cameron Arrigoni of rights secured by
the United States and Maine Constitutions.
Defendant’s actions in so doing were in violation of the Maine Civil Rights Act.
Defendant’s actions caused Cameron Arrigoni serious physical and emotional

harm, specifically death.

COUNT XI ~ WRONGFUL DEATH
JOSEPH ROGERS

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 55 as if

fully restated herein.

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Defendant’s deliberate indifference and wrongful conduct directly and
proximately caused the death of Cameron Arrigoni.

Defendant’s actions have directly and proximately caused Mr. Arrigoni’s heirs
and estate to suffer pecuniary loss.

Defendant’s actions have also directly and proximately caused Mr. Arrigoni’s
heirs and estate to suffer the loss of comfort, care and companionship of Mr.
Arrigoni, as well as significant emotional distress.

Plaintiff has also suffered medical, hospital and funeral expenses as the direct and
proximate result of Defendant’s wrongful actions.

COUNT XII ~ CONSCIOUS PAIN AND SUFFERING
JOSEPH ROGERS

Plaintiff repeats and realleges the allegations of Paragraphs 1 through 60 as if

fully restated herein,

Defendant’s deliberate indifference and wrongful actions caused Cameron

Arrigoni conscious pain and suffering prior to his death.

WHEREFORE, Plaintiff respectfully prays that this Honorable Court:

a. Declare that Defendants have wrongfully deprived Cameron Arrigoni of his

constitutionally secured rights under the Maine and United States Constitutions;

. Declare that Defendants have wrongfully caused the death of Cameron Arrigoni;

Award Plaintiff compensatory damages to be determined at trial;

. Award Plaintiff punitive damages to be determined at trial;

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e. Award Plaintiff pre-judgment interest;
f. Award Plaintiff attorney’s fees and costs;

g. Award Plaintiff such further relief as it deems just and proper.

Date: June 1, 2015 ~
VERNE/E. PARADIE, JR, ESQUIRE
Attorney for the Plaintiff
Bar No: 8929

 

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